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stem umpgjtz S;q1 mm puc mellon pqu ann 51 ugamq paugmuoo uepM;q€lwa /(m_[.\:)d }0 fillequ .lspun elelc)ap 1

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